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   6uprant Court of jflortba
                 Ctrttffcatt of 8oob 6tanbmg
I, JOHN A. TOMASINO, Clerk of the Supreme Court of the State of Florida, do

hereby certify that


                            MARK IAN PINKERT


was admitted as an attorney and counselor entitled to practice law in all the

Courts of the State of Florida on SEPTEMBER 28, 2017, is presently in good

standing, and that the private and professional character of the attorney appear

to be good.




                                      WITNESS my hand and the Seal of the

                                      Supreme Court of Florida at Tallahassee,

                                      the Ca . 1, this MAY 5, 2023.



                                      Cler of the Supreme Court of Florida
